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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN

DRIFTLESS AREA LAND CONSERVANCY
and WISCONSIN WILDLIFE FEDERATION,                   No. 19-cv-1007

                    Plaintiffs,

        v.

MICHAEL HUEBSCH, REBECCA VALCQ,
ELLEN NOWAK, and PUBLIC SERVICE
COMMISSION OF WISCONSIN,

                    Defendants.

    AMERICAN TRANSMISSION COMPANY LLC AND ATC MANAGEMENT INC.’S
       NOTICE OF MOTION AND MOTION TO INTERVENE PURSUANT TO
                       FED. R. CIV. P. 24(A) & (B)

        Pursuant to FED. R. CIV. P. 24(a) and 24(b), American Transmission Company LLC,

by its corporate manager, ATC Management, Inc. (collectively “ATC”), through its

undersigned counsel, respectfully moves to intervene in the above-captioned proceeding in

support of Defendants’ final actions that are the subject of the Court’s examination in this

proceeding (“Motion”). The basis for ATC’s Motion is set forth more fully in the brief in

support of the Motion, which is being filed concurrently herewith. 1 In conjunction with the

filing of this Motion, ATC is also filing an Answer and jointly filing a Motion to Dismiss the

Plaintiffs’ complaint. 2


1
  ATC conferred with the Plaintiffs and Defendants regarding this Motion. Defendants do not
oppose this Motion. Plaintiffs oppose the Motion. (See Declaration of Brian Potts in Support of
ATC’s Motion to Intervene)
2
  A motion to intervene must be accompanied by a pleading that sets forth the claims or defenses
for which intervention is sought. FED. R. CIV. P. 24(c). The pleading accompanying the motion to
intervene must be one of the pleadings listed in FED. R. CIV. P. 7(a). Sanders v. John Nuveen &
Co., Inc., 463 F.2d 1075, 1082 (7th Cir. 1972). Because of this requirement, ATC has submitted
an Answer with this Motion out of an abundance of caution, even though ATC is also jointly
moving to dismiss the Complaint under FED. R. CIV. P. 12(b)(1) and 12(b)(6).

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 DATED: January 24, 2020              Respectfully submitted,

                                      PERKINS COIE LLP

                                      /s/ Brian H. Potts
                                      Brian H. Potts
                                      State Bar. No. 1060680
                                      Email: BPotts@perkinscoie.com
                                      David R. Zoppo
                                      State Bar No. 1094283
                                      Email: DZoppo@perkinscoie.com
                                      Mary N. Beall
                                      State Bar No. 1115830
                                      Email: MBeall@perkinscoie.com

                                      Perkins Coie LLP
                                      33 East Main Street, Suite 201
                                      Madison, WI 53703-5118
                                      Tel: (608) 663-7460
                                      Fax: (608) 663-7499

                                      Attorneys for Intervenor-Defendants
                                      American Transmission Company LLC and
                                      ATC Management Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 24, 2020, I electronically served the forgoing document

on all counsel of record registered for electronic filing in the above-captioned proceeding by

filing the same with the Clerk of Court using the Court’s ECF system.



                                                     /s/ Brian H. Potts
                                                     Brian H. Potts, SBN 1060680

                                                     Attorney for Intervenor-Defendants
                                                     American Transmission Company LLC and
                                                     ATC Management Inc.




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